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      Attorney(s) for Social Positioning Input Systems, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 10
       SOCIAL POSITIONING INPUT
       SYSTEMS, LLC,
 11
                          Plaintiff,                 CASE NO. 2:21-cv-05656
 12
       v.                                            JURY TRIAL DEMANDED
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 14    SQUAREGPS, INC.,

 15                       Defendant.
 16

 17                                      COMPLAINT
 18         Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files
 19   this Complaint against SquareGPS, Inc. (“Defendant” or “SquareGPS”) for
 20   infringement of United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).
 21                            PARTIES AND JURISDICTION
 22         1.     This is an action for patent infringement under Title 35 of the United
 23   States Code. Plaintiff is seeking injunctive relief as well as damages.
 24         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
 25   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 26   infringement arising under the United States patent statutes.
 27         3.     Plaintiff is a Texas limited liability company with an address of 1 East
 28   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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  1          4.     On information and belief, Defendant is a California corporation with its
  2   principal office located at 21550 W Oxnard St #970, Woodland Hills, CA 91367. On
  3   information and belief, Defendant may be served through its agent, Seth Schechter,
  4   12707 High Bluff Dr., #200, San Diego, CA 92130.
  5          5.     On information and belief, this Court has personal jurisdiction over
  6   Defendant because Defendant has committed, and continues to commit, acts of
  7   infringement in this District, has conducted business in this District, and/or has
  8   engaged in continuous and systematic activities in this District.
  9          6.     On information and belief, Defendant’s instrumentalities that are alleged
 10   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
 11   in this District.
 12                                          VENUE
 13          7.     On information and belief, venue is proper in this District under 28
 14   U.S.C. § 1400(b) because Defendant is deemed to reside in this District.
 15   Alternatively, acts of infringement are occurring in this District and Defendant has a
 16   regular and established place of business in this District.
 17                                         COUNT I
 18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
 19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
 20          9.     This cause of action arises under the patent laws of the United States
 21   and, in particular, under 35 U.S.C. §§ 271, et seq.
 22          10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights
 23   to enforce the ‘365 Patent and sue infringers.
 24          11.    A copy of the ‘365 Patent, titled “Device, System and Method for
 25   Remotely Entering, Storing and Sharing Addresses for a Positional Information
 26   Device,” is attached hereto as Exhibit A.
 27          12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
 28   compliance with Title 35 of the United States Code.
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  1         13.    Upon information and belief, Defendant has infringed and continues to
  2   infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
  3   using (at least by having its employees, or someone under Defendant's control, test
  4   the accused Product), importing, selling, and/or offering for sale associated hardware
  5   and software for asset locating services (e.g., SquareGPS asset tracking platform,
  6   B2Field, and any associated hardware, apps, or other software) (“Product”) covered
  7   by at least Claim 1 of the ‘365 Patent. Defendant has infringed and continues to
  8   infringe the ‘365 patent either directly or through acts of contributory infringement or
  9   inducement in violation of 35 U.S.C. § 271.
 10         14.    The Product provides an asset tracking system for real-time GPS
 11   tracking of assets. A user can receive location information on a positional information
 12   device (e.g., mobile device or computer). Certain aspects of this element are
 13   illustrated in the screenshot(s) below and/or in those provided in connection with
 14   other allegations herein.
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            15.    The Product software sends a request from a first (requesting) positional
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      information device (e.g., mobile device or desktop with software installed) to a server.
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      The request is for the real-time location (e.g., stored address) of an asset, and includes
 21
      a first identifier of the requesting positional information device (e.g., user ID and
 22
      password for the Product software used in the particular enterprise). The request is
 23
      sent to the Product server for transmitting the asset location. The server receives the
 24
      at least one address from a second (sending) positional information device at the asset
 25
      (e.g., employee). Certain aspects of this element are illustrated in the screenshot(s)
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      below and/or in those provided in connection with other allegations herein.
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 16         16.   The at least one address is received from the server at the requesting
 17   positional information device.    For example the Product’s server transmits the
 18   position of an asset (at least one address) to the requesting positional information
 19   device. Certain aspects of this element are illustrated in the screenshot(s) below
 20   and/or in those provided in connection with other allegations herein.
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             17.    A second identifier for the second (sending) positional information
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       device is determined based on the first identifier and the server retrieves the at least
  19
       one address stored in the at least one sending positional information device. The
  20
       Product application installed on the requesting positional information device requests
  21
       (from the server) the asset’s GPS location (i.e., at least one stored address stored). As
  22
       shown above, before activating the tracker (i.e., the sending positional information
  23
       device), a unique tracking device’s ID number or credentials (i.e., second identifier)
  24
       needs to be added to the user’s account identified by the user login ID and password
  25
       (i.e., the first identifier). Hence, the tracker device’s ID number or asset credentials
  26
       (i.e., second identifier) is mapped to the user’s login ID (i.e., the first identifier) for
  27
       tracking the real-time location (i.e., at least one stored address stored) of the asset.
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   1   Certain aspects of this element are illustrated in the screenshot(s) below and/or in
   2   those provided in connection with other allegations herein.
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             18.    Defendant’s actions complained of herein will continue unless
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       Defendant is enjoined by this court.
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             19.    Defendant’s actions complained of herein are causing irreparable harm
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       and monetary damage to Plaintiff and will continue to do so unless and until
  19
       Defendant is enjoined and restrained by this Court.
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             20.    Plaintiff is in compliance with 35 U.S.C. § 287.
  21
                                    PRAYER FOR RELIEF
  22
             WHEREFORE, Plaintiff asks the Court to:
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             (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  24
       asserted herein;
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             (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
  26
       employees, attorneys, and all persons in active concert or participation with Defendant
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       who receive notice of the order from further infringement of United States Patent No.
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   1   9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of
   2   judgment going forward);
   3         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
   4   accordance with 35 U.S.C. § 284;
   5         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
   6         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
   7   entitled under law or equity.
   8                               DEMAND FOR JURY TRIAL
   9         Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules
  10   of Civil Procedure, requests a trial by jury of any issues so triable by right.
  11

  12   Dated: July 13, 2021                    Respectfully submitted,
  13
                                               /s/ Stephen M. Lobbin
  14                                           Attorney(s) for Plaintiff Social Positioning
  15                                           Input Systems, LLC

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